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                                                      November 11, 2021


       VIA ECF
       Hon. Paul G. Gardephe
       United States District Judge
       United States District Court
       Southern District of New York
       40 Foley Square, Room 2204                                                       November 15, 2021
       New York, NY 10007

               Re:      Request to Extend Briefing Schedule
                        Watkins v. Anthony T. Rinaldi, LLC et al .
                        1:19-cv-08457-PGG-JLC

       Dear Judge Gardephe:

                This firm represents the Defendants in the above-referenced action. Pursuant to
       Paragraph I(D) of Your Honor’s Individual Rules of Practice, the Defendants write with Plaintiff’s
       consent to respectfully request an extension of the briefing schedule regarding summary judgment.
       See ECF Doc. 62. The reason for the extension is because the Defendants require time to prepare
       their motion papers. Based on the undersigned’s current litigation deadlines, a number of which
       fall at the end of this month and the beginning of December, and the upcoming Thanksgiving
       holiday, the parties respectfully request the Court extends the briefing schedule as indicated below.

              The current schedule is as follows: (1) November 29, 2021 (Defendants’ moving papers);
       (2) December 29, 2021 (Plaintiff’s opposition); and (3) January 10, 2022 (Defendants’ reply). See
       ECF Doc. 62.

               The proposed briefing schedule is as follows:

                    -   Defendants’ motion is due on December 30, 2021;

                    -   Plaintiff’s opposition is due on January 31, 2022.

                    -   Defendants’ reply, if any, is due on February 17, 2022.
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         This is the first request to extend Your Honor’s briefing schedule. This case involved six
depositions, numerous subpoenas, over two thousand pages of paper discovery, and substantial
litigation. The requested time is necessary for the parties to prepare their motion papers. Granting
this request will not affect scheduled dates other than those indicated above.

       Thank you for Your Honor’s consideration.

                                              Respectfully submitted,
                                              CLIFTON BUDD & DeMARIA, LLP
                                              Attorneys for the Defendants


                                              By:_________________________________
                                                    Ian-Paul A. Poulos


CC:    Counsel of Record (via ECF)
